          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                           CRIMINAL NO. 2:07CR2


UNITED STATES OF AMERICA                 )
                                         )
                                         )
            vs.                          )           ORDER
                                         )
GREGORY MICHAEL McMAHAN                  )
                                         )
                                         )

     THIS MATTER is before the Court on a letter received from the

Defendant on January 16, 2008. For the reasons stated below, the letter

will be construed by the Court as a motion to extend the time for filing an

appeal and as a pro se notice of appeal of Defendant’s conviction and

sentence.

     The Rules of Appellate Procedure provide that in a criminal case,

     [u]pon a finding of excusable neglect or good cause, the district
     court may . . . extend the time to file a notice of appeal for a
     period not to exceed 30 days from the expiration of the time
     otherwise prescribed [by this Rule].

Fed. R. App. P. 4(b)(4).

     On October 25, 2007, this Court sentenced the Defendant to a term

of 262 months imprisonment for violations of the Controlled Substances




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Act. See Judgment in a Criminal Case, filed October 29, 2007. No

notice of appeal was filed.

         The Defendant states that he instructed his attorney to file a notice of

appeal; but despite repeated inquiries to his attorney that have gone

unanswered, the Defendant does not know whether or not an appeal was

filed.

         Although the Defendant has presented good cause for the failure to

timely file his notice, he does so outside the 30-day period provided by

Rule 4. Therefore, the Court has no jurisdiction to extend the time for this

Defendant to file his notice of appeal.

         IT IS, THEREFORE, ORDERED that the Defendant’s letter is

construed as a motion to extend time for filing appeal, and the same is

DENIED for lack of jurisdiction.

         IT IS FURTHER ORDERED that the Defendant’s letter is also

construed as a pro se notice of appeal and, should the Fourth Circuit

entertain Defendant’s appeal, the appointment of appellate counsel is

hereby respectfully referred to that Court.




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                                Signed: January 18, 2008




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